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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

----------------------------------------------------------------
S.N., a minor, through her father AHMER SYED |
NAQVI; AHMER SYED NAQVI,                                        |
                  Plaintiffs                                    |
         v.                                                     |
                                                                |
Alejandro Mayorkas, Secretary of the                            |
Department of Homeland Security, in his                         |
Official capacity; Merrick Garland, United States |
Attorney General In his official capacity;                      |   COMPLAINT FOR
Tracy Renaud, Senior Official Performing                        |   DECLARATORY JUDGMENT
Duties of the Director of the United States                     |
Citizenship and Immigration Services,                           |
In her official capacity, Susan Dibbins, Chief of the |
Administrative Appeals Office of the U.S.                       |
Citizenship and Immigration Services of the                     |
Department of Homeland Security; Terri Robinson |
Director of the National Benefits Center, In her                |
Official Capacity, Defendants                                   |
---------------------------------------------------------------

         Plaintiffs, S.N. by and through her father, Ahmer Syed Naqvi, and Ahmer Syed Naqvi, by

and through undersigned counsel, brings this civil action for declaratory judgment against

Defendants: Alejandro Mayorkas, in his official capacity as Secretary of the Department of

Homeland Security, Tracy Renaud, in her official capacity as Senior Official Performing Duties

of the Director of the United States Citizenship and Immigration Services, and Susan Dibbins, in

her official capacity as Chief of the Administrative Appeals Office of the U.S. Citizenship and

Immigration Services of the Department of Homeland Security, requesting this Court issue a

judgment declaring the Beneficiary, S.N, to be an orphan under 8 U.S.C.A. §1101(b)(1)(F), and

invalidating the decision of the Administrative Appeals Office, dated December 18, 2020, as

arbitrary and capricious, and unwarranted by the facts. Plaintiff hereby alleges as follows:
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                                        INTRODUCTION

       1. INA §101(b)(1)(F) defines a child as an unmarried person who is a child, under the age

of sixteen at the time a petition is filed in his behalf to accord a classification of immediate

relative under section 1151(b) of this title, who is an orphan because of the death or

disappearance of, abandonment or desertion by, or separation or loss from, both parents or for

whom the sole or surviving parent is incapable of providing the proper care and has in writing

irrevocably released the child for emigration and adoption; who has been adopted abroad by a

United States citizen and spouse jointly, or by an unmarried United States citizen who is at least

25 years of age, who have or has complied with the preadoption requirements, if any, of the

child’s proposed residence, provided, that the Attorney General is satisfied that proper care will

be furnished the child if admitted to the United States.

       2. The U.S. Supreme Court has held that “the Constitution protects the sanctity of the

family precisely because the institution of the family is deeply rooted in this Nation’s history and

tradition.” See Meyer v. Nebraska, 262 U.S. 390 (1923); see also Pierce v. Society of Sisters, 268

U.S. 510 (1928).

       3. The United States Supreme Court has recognized the right of parents to be an active

and integral part of their children’s lives as “perhaps the oldest of the fundamental liberty

interests recognized by [the Supreme] Court.” Traxel v. Granville, 530 U.S. 57 (U.S. 2000).

       4. Mr. Naqvi began the adoption process to start his family in approximately 2004. He

duly complied with all pre-adoption requirements, and filed a Form I-600, Petition to Classify

Orphan As An Immediate Relative, in 2015. Since that time, he has sought five Orders from the

Court of XI Civil/Family Judge & Judicial Magistrate, Karachi South, in Pakistan, in an attempt
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to demonstrate compliance with the Defendants’ arbitrary and capricious interpretation of INA

§101(b)(1)(F) and 8 C.F.R. §204.3.

       5. Defendants’ arbitrary and capricious application of INA §101(b)(1)(F) and 8 C.F.R.

§204.3 have forced Mr. Naqvi’s wife, Azma Naqvi, and their young daughter, S.N., to remain

outside the United States for the past six years. Mr. Naqvi has needed to travel back and forth as

much as possible between the United States and Pakistan, as he remains employed here in the

United States, and both Mr. and Mrs. Naqvi remain residents in Somerset, New Jersey, and have

a home to maintain there. Mrs. Naqvi also needs regular medical care for a chronic condition,

which she can only receive here in the United States. She has also needed to travel back and

forth between the United States and Pakistan, as the insurance the couple pays for does not cover

medical treatment in Pakistan. This travel, along with maintaining a separate residence in

Pakistan, has financially drained the couple.

       6. The Administrative Appeals Office has time and again found ways to prevent the

family from reuniting despite every effort made by petitioner to show Administrative Appeals

Office they merit grant of application. This was done by way of multiple rejections of their

petitions due to misinterpretations of the legal requirements and semantic differences which are

not material.

       7. Therefore, Plaintiffs seek a judgment declaring that S.N., recognized as Plaintiff

Ahmer Naqvi’s daughter by the Karachi Court, is an orphan under INA §101(b)(1)(F) and 8

C.F.R. §204.3, and invalidating the December 18, 2020, decision by the Administrative Appeals

Office denying his Motion to Reopen, as arbitrary and capricious.
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                                             PARTIES

          8. Ahmer Syed Naqvi is a United States Citizen residing in Somerset, New Jersey, and

the father of S.N. See Court Order dated August 15, 2018, recognizing him as S.N.’s father, Exh.

A. Mr. Naqvi is the petitioner who filed I-600 dated November 12, 2015, on behalf of his

daughter, S.N. He sues both on behalf of his minor daughter S.N., and on his own behalf.

          9. Defendant, Alejandro Mayorkas, is the Secretary of the Department of Homeland

Security, who oversees the United States Citizenship and Immigration Services, which

adjudicated Plaintiff’s original petition, appeal, and subsequent motions to reconsider and

reopen. In this capacity, he has responsibility for the administration of the immigration laws

pursuant to 6 U.S.C. § 251, and routinely does and transacts business in the District of New

Jersey.

          10. Defendant, Merrick Garland, is the Attorney General of the United States of America,

and routinely does and transacts business in the District of New Jersey.

          11. Defendant, Tracy Renaud, is the Senior Official Performing Duties of the Director of

the United States Citizenship and Immigration Services, the agency directly responsible for

adjudication of Plaintiff’s original petition, Appeal, Motion to Reconsider and Motion to

Reopen.

          12. Defendant Susan Dibbins is the chief of the Administrative Appeals Office, the

Office within the United States Citizenship and Immigration Services that considered Plaintiff

Ahmer Naqvi’s Appeal, Motion to Reconsider and Motion to Reopen.

          13. Defendant Terri Robinson is the Director of the National Benefits Center, the office

which processed and approved Plaintiff’s original Form I-600.
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                                    STATEMENT OF FACTS

       14. Mr. Naqvi began the adoption process to start his family in approximately 2004

following a traumatic medical experience, which resulted in a third miscarriage for the couple,

left Mr. Naqvi’s wife unable to bear children. After finding an agency to assist him and his wife,

he duly complied with all pre-adoption requirements.

       15. Plaintiff filed a Form I-600, Petition to Classify Orphan As Immediate Relative

(“orphan petition”), on behalf of the Beneficiary, a citizen of Pakistan, in 2015. In said petition,

he presented guardianship orders from XI Civil and Family Judge, Karachi South, issued in

January, 2015, and September, 2015.

       16. The first Order, dated January 20, 2015, indicated W-Y- and S-F-S- were the

biological parents of the Beneficiary and the Beneficiary was abandoned by them to the care of

the orphanage Madad Welfare Organization.

       17. The second, issued in September of 2015, indicated that W-Y- and S-F-S- were not

the biological parents of the beneficiary and had concealed facts in obtaining the first

guardianship order.

       18. The Form I-600 was approved on July 18, 2016. On January 19, 2018, USCIS

received the Form I-600 back from the Embassy of the United States of America in Islamabad,

with recommendation for revocation. A Notice of intent to Revoke was issued on March 14,

2018. Plaintiff responded to that notification on April 12, 2018.

       19. USCIS revoked the previously-approved petition on April 23, 2018, after the U.S.

consulate in Islamabad Pakistan found that the Beneficiary’s alleged birth mother and father

were both arrested on charges for the abduction and sale of children. The revocation indicated
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concern that the Beneficiary may also be an abducted child and found the evidence the Plaintiff

submitted insufficient to overcome inconsistencies.

       20. On May 11, 2018, Plaintiff appealed to the Administrative Appeals Office and

produced paperwork indicating that an investigation was conducted which ultimately cleared

S.N.’s alleged mother and father of any criminal wrongdoing. S.N. was taken into custody, but

her biological parents were not found and “in the near future there is no hope of tracing her real

parents.” She was released to Plaintiff Ahmer Naqvi. Plaintiff also submitted a third

guardianship order, dated August 15, 2018, appended hereto at Exh. A, declaring the Petitioner

and his spouse guardians of the Beneficiary, had irrevocable release to take the Beneficiary to the

United States. That Order specified that publication of notice of guardianship took place and the

Beneficiary was produced before the police department, who conducted a thorough inquiry. That

appeal was dismissed on November 16, 2018, because “the record did not reflect that the

Beneficiary was placed with the Petitioner after becoming a ward of the court in Pakistan.

Hence, the Petitioner has not demonstrated that the Beneficiary is an orphan due to desertion by

both parents.” See Exh. B. In that dismissal there was no mention of the requirement for the

specific wording of unconditional divestment of parental rights from the natural parents.

       21. Plaintiff then filed a Motion to Reconsider the appeal dismissal on December 19,

2018, explaining that the Beneficiary is an orphan due to the disappearance of both parents. That

Motion was denied on May 21, 2019, because there was no discussion in the court documents of

the ongoing criminal investigation, the family court did not make Beneficiary a ward of the state

due to the disappearance and unconditionally divest the parents of all parental rights, and

because the court did not make a determination that the Beneficiary’s parents have

unaccountably or inexplicably passed out of the child’s life, and there is no reasonable hope of
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their reappearance, and that there has been a reasonable effort to locate them. That denial is

appended hereto at Exh. C. The denial does not mention unconditional divestment other than in

the recital of the orphan definition.

        22. Plaintiff filed a Motion to Reopen on December 12, 2019, submitting a fourth

guardianship order, dated October 31, 2019, appended hereto at Exh D, from the court along

with police reports and medical records to request expedited processing due to medical,

emotional and financial hardship on both the Plaintiff and his spouse, Mrs. Azma Naqvi. That

motion was wrongfully denied on January 29, 2020, claiming that it had not been submitted

within the required 33 (thirty-three) days, despite the fact that Plaintiffs had included in the cover

letter an explanation of why the relevant law allowed the Administrative Appeals Office to

accept the application outside of the thirty-three day timeframe, causing the Plaintiffs to waste

time and money in refiling. See Exh. E.

        23. An identical version of that motion was resubmitted on February 5, 2020, and

accepted. See Exh. F. That motion contained an explicit request to expedite the decision, citing

serious medical concerns for Mrs. Naqvi. The Administrative Appeals Office ignored that

request to expedite. That motion to Reopen was denied on December 18, 2020, because the

fourth guardianship order did not explicitly unconditionally divest the Beneficiary’s biological

parents of all parental rights over the child and did not make the Beneficiary a ward of the state

because of their disappearance. That denial is appended hereto as Exh. G.

        24. Plaintiffs file the within Complaint for Declaratory Judgment requesting that this

Court declare the Beneficiary to be an orphan under 8 U.S.C.A. §1101 (b)(1)(F) and invalidating

the agency decision, dated December 18, 2020, as arbitrary and capricious and unwarranted by

the facts.
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       25. Agency action may be reversed under the arbitrary and capricious standard only if the

agency “has relied on factors which Congress has not intended it to consider, entirely failed to

consider an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is so implausible that it could not be ascribed to a

difference in view or the product of agency expertise.” PA Dep’t of Human Servs. V. United

States, 897 F .3d 497, 504 (3d Cir. 2018) (quoting State Farm, 463 U.S. at 43, 103 S. Ct. 28556.

       26. The December 18, 2020, decision demanded a recital of specific wording in the Court

Order from Pakistan, but entirely failed to consider that no such process of unconditional

divestment of parental rights exists in Pakistani law. See Letter from Chishti Law Associates,

Clifton, Karachi, at Exh. H. The decision also failed to mention that the Plaintiffs’ initial 2015

application was granted on July 18, 2016, without any requirement for the specific language of

unconditional divestment of parental rights from the biological parents. The decision continues

to separate Plaintiff from his wife and daughter on the basis of semantics, as there is no material

difference between the wording of the order Plaintiff previously provided, and the definition in 8

U.S.C. 1101(b)(1)(F). Lastly the decision newly requires specific wording that had not formed

the basis of any past denials.

       27. The December 18, 2020, decision found that Plaintiff did not meet the standard to

show that Plaintiff S.N. is properly classified as an orphan because the “court does not

unconditionally divest the Beneficiary’s parents of all parental rights over her.” See Exh. G.

Plaintiff was moved the Court to review, amend, or modify its August 15, 2018, Order for a fifth

time and the Honorable Court has clarified that “obviously such irrevocable release was

entrusted or awarded when the natural parents of the child explicitly and unconditionally

divested of all parental rights over the child.” See Exh. H. However, the Honorable Court
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ultimately dismissed Plaintiff’s Motion, stating that Pakistani law deprives the court of the

jurisdiction to review its own orders. See Exh. I. Plaintiffs, who have duly complied with all

procedures and processes under Pakistani law to effectuate a legal adoption of S.N., therefore

have no further ability to present the semantic verbiage in the form of a court order, as the

Defendants request.

                      EXHAUSTION OF ADMINISTRATIVE REMEDIES

       28. It is a generally recognized prudential requirement of administrative law that

administrative remedies should be exhausted before an appeal is filed in federal court.

However, “the INA does not require aliens to appeal denials of spousal immigration

petitions to the BIA before seeking relief in federal court.” Bangura v. Hansen, 434 F.3d

487, 498 (6th Cir. 2006). See also 8 C.F.R. § 103.3(a)(ii) (providing that a party “may”

appeal to the BIA).

       29. Plaintiffs filed one appeal, one motion to reconsider, and two motions to reopen

before the Administrative Appeals Office before the instant complaint. The December 18, 2020,

decision does not give the Plaintiff option for further appeal, mentioning only a motion to reopen

or reconsider. See Exh. G.

       30. As Plaintiffs have no further appellate options, or other administrative options for

redress that they have not used, Plaintiffs have exhausted administrative remedies, despite the

fact that they were not required to do so.



                                         JURISDICTION

       31. Jurisdiction is proper under the Federal Declaratory Judgment Act, 28 U.S.C.A.

§2201. Additionally, there is federal question jurisdiction under 8 USCA §1101 (b)(1)(F).
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        32. This matter satisfies both the constitutional inquiry and the prudential inquiry. There

is a case in controversy in that Plaintiff is incurring financial damages incurring costs of plane

rides, medical insurance, and lodging splitting his time between two countries, and emotional

harm in not being able to bring his daughter, Beneficiary Sonya, to the United States. This case

satisfies the prudential inquiry because a declaratory judgment is appropriate in that it will

“terminate the controversy” giving rise to the proceedings and allow the Plaintiff to proceed with

reuniting his family.

                                              VENUE

        33. Venue is properly laid with the United States District Court for the District of New

Jersey, under 28 U.S.C. 1391(e)(1)(C), as the Defendants are officers of the United States, it is

where Defendants routinely conduct business, and Plaintiff has been domiciled in New Jersey for

the last ten years.

                                      CAUSES OF ACTION

   COUNT ONE: UNDUE GOVERNMENT INTERFERENCE WITH PLAINTIFF’S
  FOURTEENTH AMENDEMENT LIBERTY INTEREST IN THE CARE, CUSTODY
                  AND CONTROL OF HIS DAUGHTER

        34. Plaintiffs restate and incorporate by reference the allegations contained in the

proceeding paragraphs of this Complaint.

        35. “The history and culture of Western civilization reflect a strong tradition of parental

concern for the nature and upbringing of their children. This primary role of the parents in the

upbringing of their children is now established beyond debate as an enduring American

tradition.” Wisconsin v. Yoder, 406 U.S. 205, 232 (1972).
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       36. “It cannot now be doubted that the Due Process Clause of the Fourteenth Amendment

protects the fundamental right of parents to make decisions concerning the care, custody, and

control of their children.” Traxel v. Granville, 530 U.S. 57, 66 (U.S. 2000).

       37. The Defendants’ arbitrary and capricious interpretation of 8 U.S.C.A. §1101(b)(1)(F)

deprives Plaintiff of his fundamental right to make decisions concerning the care, custody, and

control of his daughter without even a rational basis to do so. The Defendants’ arbitrary and

capricious decisions deprived Plaintiff Ahmer Naqvi of the ability to raise his daughter here with

him in the United States, the country he now calls home.

       38. The Defendants’ arbitrary and capricious decisions are not rationally related to any

legitimate government interest. A Pakistani court declared that Plaintiff was the father of S.N.,

declared her to be an orphan under INA §101, and the Defendants acknowledged there were no

further concerns of abduction and a reasonable effort had been made to locate the biological

parents of S.N. Plaintiffs have provided evidence in the form of an updated court order that not

only judicially opines that “irrevocable release was entrusted or awarded when the natural

parents explicitly and unconditionally divested of all parental rights over the child,” but

ultimately dismisses the complaint, thus confirming that no further mechanisms exist for the

Plaintiffs to obtain an order with the specific wording that Defendants request, and no further

mechanisms for judicial review of their matter inside Pakistan. See Exh. H-I. The Defendants

lack a rational basis to continue to deprive the Plaintiff of his fundamental right to the care,

custody, and control of his daughter, because they have already recognized that no further

concerns exist that S.N. is an abducted child. Petitioner, having been deprived of being able to

raise his child in the United States, having been financially drained dealing with health issues,

travel back and forth between the United States and Pakistan, for well over six (6) years
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following the initial petition, has clearly not had the freedoms afforded to him for care, custody

and control of his child under the 14th amendment. Such a freedom that, with every arbitrary and

capricious denial has stripped him of the ability to do so, and was not merited and therefore

should be once again afforded to him and his wife by a declaratory judgment of this court.

    COUNT TWO: THE DECEMBER 18, 2020, DECISION WAS ARBITRARY AND
      CAPRCIOUS AND THEREFORE VIOLATED THE ADMINISTRATIVE
                        PROCEDURES ACT

       39. Plaintiffs reinstate and incorporate by reference the allegations contained in the

proceeding paragraphs of this Complaint.

       40. The Administrative Procedures Act, 5 U.S.C. §702, directs reviewing courts to “hold

unlawful and set aside agency action, findings, and conclusions” that are arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law, and unwarranted by the facts to the

extent that the facts are subject to trial de novo by the reviewing court.”

       41. Agency action may be reversed under the arbitrary and capricious standard only if the

agency “has relied on factors which Congress has not intended it to consider, entirely failed to

consider an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is so implausible that it could not be ascribed to a

difference in view or the product of agency expertise.” PA Dep’t of Human Servs. V. United

States, 897 F .3d 497, 504 (3d Cir. 2018) (quoting State Farm, 463 U.S. at 43, 103 S. Ct. 28556.

       42. The December 18, 2020, decision is arbitrary and capricious because it entirely failed

to consider an important aspect of the problem. The decision demands a recital of specific

wording in the Court Order from Pakistan, but entirely fails to consider that no such process of

unconditional divestment of parental rights exists in Pakistani law. See Letter from Chishti Law

Associates, Clifton, Karachi, at Exh. H. The decision also fails to consider that the Plaintiffs’
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initial 2015 application was granted on July 18, 2016, without any requirement for the specific

language of unconditional divestment of parental rights from the biological parents. The decision

fails to consider that the difference is semantic, and that there is no material difference between

the wording of the order and the definition in 8 U.S.C. 1101(b)(1)(F). Lastly the decision fails to

consider that prior denials had not required this specific wording from the court order.

       43. The December 18, 2020, decision is arbitrary and capricious because it is so

implausible that it could not be ascribed to a difference in view or the product of agency

expertise. The decision acknowledges that the accused from the Madad Welfare Agency were

acquitted under the law, that there was no evidence that the Beneficiary was a victim of

abduction and acknowledges that the court states that the “Beneficiary’s parents have

unaccountably or inexplicably passed out of the Beneficiary’s life, that their whereabouts are

unknown, there is no reasonable hope of their reappearance, and that there has been a reasonable

effort to locate them.” The Order from the Pakistani court also states that, “This Order shall have

irrevocable release of minor S.N. to the plaintiffs.” (emphasis added). Recognizing that

trafficking is no longer of concern yet refusing to classify plaintiff S.N. as an orphan is an

implausible decision, given that they have created a barrier based in entirely semantics which

Plaintiffs lack a legal mechanism inside Pakistan to directly address.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their favor

and against Defendants as follows:

       44. Declaring Plaintiff Ahmer Syed Naqvi to be the legal father of Plaintiff S.N.;

       45. Declaring Plaintiff S.N. to be an orphan under 8 U.S.C.A. §1101(b)(1)(F) and 8

C.F.R. §204.3;
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          46. Invalidating and reversing the Defendants’ December 18, 2020, decision in this

matter;

          47. Directing the Defendants to reopen Plaintiff’s Petition and process it in accordance

with this Court’s decision; and

          48. Awarding any and all such relief as deemed just and warranted.
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                           CERTIFICATION AND VERIFICATION

       I, Aleksandra N. Gontaryuk, Esq., certify pursuant to Local Civil Rule 11.2 that the

matter in controversy in this action is not currently the subject of any other action filed in this

court or in any other court.

       I am an attorney admitted to practice in the State of New Jersey. I have reviewed the

foregoing Complaint for Declaratory Judgment and the facts set forth therein. To the extent they

relate to my personal involvement in these matters, they are true to the best of my knowledge,

except as to any matters asserted upon information and belief, which I believe to be true. My

understanding is based in part upon my familiarity with relevant documents and conversations

with persons possessing first-hand knowledge. In accordance with 28 U.S.C. § 1746, I hereby

declare under penalty of perjury that the foregoing is true and correct.

Dated: April 13, 2021



                                       BY: __________________________________
                                             AG Law Firm
                                             Aleksandra N. Gontaryuk, Esq.
                                             711 Jersey Avenue, Suite 202
                                             New Brunswick, NJ 08901
                                             Telephone: (908) 336-7550
                                             Email: aleks@aglawnj.com
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                               CERTIFICATE OF SERVICE

I, Aleksandra N. Gontaryuk, Esq., with offices at 711 Jersey Avenue, Suite 202, New Brunswick,
NJ 08901, do hereby certify that I mailed the within Complaint for Declaratory Judgment, and
within exhibits, via USPS Priority Mail to the following parties at the following addresses:

Alejandro Mayorkas
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Mail Stop 0485
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Merrick Garland
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Susan Dibbins
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Terri Robinson
National Benefits Center
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Overland Park, KS 66213



       04/13/2021
Date: ___________                                    ____________________________________
                                                     Aleksandra N. Gontaryuk, Esq.
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              U.S.Citizenship                                              Non-Precedent Decision of the
              and Immigration                                              Administrative Appeals Offi ce
               Services


MATTER OF A-S-N-                                                           DATE: MAY 21.2019

MOTION ON ADMINISTRATIVE APPEALS OFFICE DECISION

PETITION: FORM I-600. PEI'ITION TO CLASSIFY ORPIIAN AS AN IMMEDIATE
                  RELATIVE



The Petitioner, a U.S. citizen. seeks to classify an orphan as an immediate relative under section
101(bXlXF)ofthelmmigrationandNationalityAct(theAct).8I,J.S.C.$ 1101(bXlXF). TheDirector
of the National Benef-rts Centel denied the Form l-600" Petition 1o Classify Orphan as an lmmediate
Relative (orphan petition). and we disn-rissed a subsequent appeal. The matter is now betbre us on a
motion to reconsider.l Upon review. we will deny the motion to reconsider.

                                                          I.   I,AW

An orphan is deflned as a child. under the age of 16 at the time a petitiori is filed on his or her behalf,
who is an orphan because of the death or disappearance of. abandonment or deseftion by, or separation
or loss fiom, both parents, or for whorn the sole or survivirrg parent is incapable of providing the
proper care and has in writing irrevocably released the child fbr ernigration and adoption: provided,
that the Secretary of Homeland Security is satisfled that proper care will be furnished if the child is
admitted to the United States. Section 101(bxlXFXi) of the Act. A petitioner bears the burden of
proof to demonstrate eligibility by a preponderance of the evidence. See Muter of'Chawuthe, 25 I&N
Dec. 369, 37s (AAO 2010).

A rnoticn tc reconsider must establish that our decisioii ri'as based on aii incorieui appiication oiiaw
or policy based on the evidence in the record of proceedings at the tinre of tlie decision. 8 C.F.R.
$ 103.5(aX3).

I The Petitioner requests that if lve find his orphan petition does not rrreet thc cligibility requirernents, instead of denying
the motion to reconsider, rve alternatively "reopen the petition arrd irold thc nratter in abeyance pending subrnission of
additional evidence." There are no provisions autlrorizing us to reopen a pctition to hold a rnatter in abeyance pending
subrnission of additional evidence. The requirements fbr a rnotion to reopen are at 8 C.li.R. \\ 103.5(aX2). and state that a
rnotion to reopen must assert new facts. supported by documentary evidence. A rr.rotion to reopen rnust be filed within
30 days of the decision that the rnotion seeks to open. except that failure to tirnely flle rnav be excused in the discretion of
USCIS where it is dernonstrated that the delay rvas reasorrable and bevonti the control of tlre petitioner. 8 C.F.R.
$ 103.5(a)(l)(i). We lacktheauthoritytowaivetheserequirenrents. Sdc Llnited S/ale,sr'. Nixctn.41 8 U.S.683.695-96
(1974) (as long as regulations reurain in force. they are binding on governlnent officials).




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                                             II.   ANAI,YSIS

The Petitioner flled the orphan petition on behall'of the Beneficiary. a citizen of Pakistan, in 2015,
when the Beneficiary was 15 months old. The Petitioner filed two guardianship orders fiorn a family
court in Pakistan with the orphan petitior-r: the first guardianship order was issued after the
Beneficiary's alleged birth parents gave custody of the Beneficiary to the Al-Madad Welfare
Organization; and the second guardianship order anrended the lindings in the frrst order and declared
that the alleged birth parents of the Beneficiary were not her biological parents but "the whereabouts
of her actual biological parents r.vere not known."

The Director approved the orphan petition in 2016 and sent it fbr a Form I-604. Determination on
Child for Adoption (l-604 investigation). by the U.S. Consulate in Islamabad. Pakistan to verify the
Beneficiary's eligibility fbr orphan classiflcation. The consulate returned the orphan petition to the
Director of the National Benefits Center recommending revocation because the consular officer was
unable to establish that the Beneficiary meets the defrnition of an orphan under the Act. The consulate
stated that the Beneficiary's alleged birth mother and the Al-Madad Welfare Organization's president
were both arrested in connection witl-r child abduction and selling cliildren. The consulate fbund that
the family court did not rely on a law enfbrcement investigation in the decision making process of the
second guardianship order.

The Director issued a notice of intent to revoke (NOIR) tl-re approval of the orphan petition based on
the findings of the I-604 investigation. wliich the Petitioner responded to lr,ith additional evidence.
The Director reviewed the evidence and determined that the Petitioner did not subrnit evidence to
verify that a proper law enfbrcement investigation had becn conducted to identify the Beneficiary's
true birth parents. The Director revoked the approval of the orphan petition because the Petitioner did
not establish that the Beneflciary meets the orphan def-inition and did not prove that guardianship had
been secured in accordance with the laws of Pakistan.

The Petitioner filed a subsequent appeal with additional evidence. We concluded on appeal that the
record established the Director had good and sulficient cause to revoke approval of the orphan petition.
We considered the additional evidence the Petitionel submitted on appeal- incorporated here by
reference, r.vl-iich included a third guardianship ortier stating that the Petitioner anci his spouse "tried
their level best to find the birth parents via police and published the notices in national news papers
[sic]" and declaring that the Beneficiary is an "'orphan' as per deflnition of under section 101(b)lF I
[sic] of Immigration and Nationality Act due to continuous permanent disappearance of parents of
minor." We determined that while the Petitioner's additional evidence demonstrates that guardianship
was secured in accordance with the laws of Pakistan. the Petitioner has not established that the
Beneficiary meets the orphan definition under U.S. irnrnigration law.

The Petitioner reasserts on motion that the Beneficiary is an orphan due to the disappearance of both
of her parents. He contends that "[wlhile the court orders unfofiunately fail to surnmari ze the results
of the criminal investigation or indicate whether the benef-rciary may have been abducted as an infant,
this does not render the court's factual determinations invalid." He claims that "a proper law




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 enforcement investigation was undertaken to identit'r,the beneficiary's birth parents. and           no one
 came fbrward to claim the child."

 F'or a child to meet the orphan def-rnition under the Act based on the tlisul4teurctnce tt'hoth parenls,
 the Petitioner must establish that "both parents have unaccor-rntably or inexplicably passed out of the
 child's lifb. their whereabouts are unknown. thcre is no reasonable hope of tlieir reappearance. and
 there has been a reasonable eflort to locate them as detenlined b1, a corrpetent authority in accordance
 with the laws of the fbreign-sending country." 8 C.F.R. rs 204.3(b). Prirnary evidence of the birth
 parents' disappearance is a decree fion, a court or other competent authoritt'whicl-r makes the child a
 ward of the state because of such disappearance and unconditionally divests the parents of allparental
 rights over the child. USCIS Policy Memorandunr PM-602-01 1 6. Guidunc'e on ('ontlucting Form I-
 601. Determinution on C'hild /br Atloplion. Orphun l)elcnttinulion.s lT (.Tune 17.2015).

 Here, the Petitioner's third guardiarrship order shou's that the faniill court determined that the
 Beneficiary's birth parents could not be located. I lows,e r. as explained in our prior decision. there is
 no discussion in any o1'the court documents of thc criniinal investigation conducted in Pakistan afier
 the arrest of the Beneficiary's alleged birth mother firr child abduction li'orr-r a hospital and whether or
 not authorities have identified tlie Benetlciary as one of the abdr,rctcd children. which is relevant to
 identifying her birth parents. Moreover. the tarnily'courl did not make the Beneflciary a ward of the
 state because ofher birth parents' disappearance and unconditionally divest the parents ofall parental
 rights over the Beneliciary. See id. The court's fincling does not c'lemonstrate that it made a
 determination under the laws of Pakistan that the Beneficiarl''s parents have unaccountably or
 inexplicably passed out of the cliild's lif'e. their whereabouts are unknolvn. there is no reasonable hope
 of their reappearance. and there has been a reasonable eflbrt tcl locate thenr. Ssa 8 C.F.R. $ 204.3(b).
 Accordingly" the Petitioner has not demonstrated that the Beneflciary is an orphan due to the
 d i,s ctltpe ar unc e d' b o t h pare n I s.


 The Petitioner asserls that it "'defies logic to conclude tliat the court's custody detennination is lawful.
 while its underlying tactual determination regarding the disappearance o1'the birth parents . . . is
 somehow unlawful or extra-jurisdictional.'' Ilowcver. as discussed in thc tJ.S. I)epartment olstate's
 intercountry adoption inlbnnatiou fbr Pakistan. in ordel to adopt a child liorn Pakistan. prospective
 adoptive parents must meet the requircrnents ol'botli the lau's o1'l)akistari and [J.S. irnniigration law.
 U.S. Deparlment of State. Pakis'lutt Inlercotin!t'.;' .ldoptiott hfbrntrtion.2 In this case. the
 preponderance of the evidence does not establish that the Bcncficiarl' lncets the definition of an orphan
 due to Ihe disuppearonce of both porent.\.

 The Petitioner does not assel't that the Beneficiary mects anv other deflnition of an ''orphan" under the
 Act or that our decision was otherwise crroneous. Consecluently,. 1h. Petitioncr lias not established
 that the Beneficiary is an orphan. as that term is deflned undcr section 101(bXlXFXi) of the Act.




 2https://travel.state.gov/content/trave
                                      l/en/l ntercourrtrl,-Adoption/lntcrcou ntry-Adoption-Country-
 Infonnation/Pakistan.html (last vierved May 17. 2019).




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